Case 2:19-cr-20726-PDB-RSW ECF No. 34 filed 03/05/20      PageID.263     Page 1 of 2




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA,
                                             CRIMINAL NO. 19-20726

                                             HON. PAUL D. BORMAN
v.

D-3 GARY JONES,

      Defendant.
                               /

              MOTION AND ORDER TO UNSEAL THE
              SECOND SUPERSEDING INFORMATION

      The United States of America requests the court to unseal the Second

Superseding Information and all attendant papers in the above matter.

                                      Respectfully submitted,

                                      MATTHEW SCHNEIDER
                                      United States Attorney

                                      s/David A. Gardey
                                      David A. Gardey
                                      Assistant United States Attorney
                                      211 W. Fort Street, Suite 2001
                                      Detroit, MI 48226
                                      (313) 226-9591
                                      David.Gardey@usdoj.gov

Dated: March 4, 2020



                                    Page 1 of 2
Case 2:19-cr-20726-PDB-RSW ECF No. 34 filed 03/05/20   PageID.264   Page 2 of 2




IT IS SO ORDERED.

                                          s/Elizabeth A. Stafford
                                          Elizabeth A. Stafford
                                          United States Magistrate Judge



Entered: March 5, 2020




                                 Page 2 of 2
